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              EXHIBIT F
           Mesiti Declaration
    U.S. Design Patent No. D493,092
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(12) United
     Kalat
            States Design Patent (10) Patent No.:                                                                  US D493,092 S
                                                                                   (45) Date of Patent:             8     Jul. 20, 2004
(54) SNAP-TYPE UTILITY HOOK                                                   (74) Attorney, Agent, or Firm-Alix, Yale & Ristas, LLP
(75) Inventor: Edward W. Kalat, Southington, CT                               (57)                       CLAIM
               (US)                                                           The Snap-type utility hook, as shown and described.
(73) Assignee: Southington Tool & Manufacturing                                                      DESCRIPTION
               Corporation, Plantsville, CT (US)                              FIG. 1 is a front view of a first embodiment snap-type utility
(**) Term:            14 Years                                                hook showing my new design;
                                                                              FIG. 2 is a left side view of the Snap-type utility hook of FIG.
(21) Appl. No. 29/187,188                                                     1;
                                                                              FIG. 3 is a right side view of the Snap-type utility hook of
(22) Filed:      Jul. 29, 2003                                                FIG. 1;
(51) LOC (7) Cl. .................................................... 08-05   FIG. 4 is a rear view of the Snap-type utility hook of FIG. 1;
(52) U.S. Cl. .......................................... D8/367; D8/370       FIG. 5 is a top plan view of the Snap-type utility hook of
                                                                              FIG. 1;
(58) Field of Search .......... D8/367,370; 248/302-303;                      FIG. 6 is a bottom plan view of the Snap-type utility hook of
                    24/601.4, 298,599.8, 599.9, 600.9, 265 R,                 FIG. 1;
                                                                   265 H
                                                                              FIG. 7 is a front view of a second embodiment of a snap-type
(56)                      References Cited                                    utility hook showing the new design;
                                                                              FIG. 8 is a left side view of the Snap-type utility hook of FIG.
                  U.S. PATENT DOCUMENTS                                       7;
                                                                              FIG. 9 is a right side view of the Snap-type utility hook of
          25,082 A         8/1859 Pollack ...................... 24/600.9     FIG. 7;
        437,380 A * 9/1890 Lundborg .................. 24/600.9               FIG. 10 is a rear view of the Snap-type utility hook of FIG.
         721,071 A * 2/1903 McGill ....................... 248/302
         804.273 A * 11/1905 Smith ................. ... 24/600.9             7;
       5,913.479 A * 6/1999 Westwood, III ............. 24/298                FIG. 11 is a top plan view of the Snap-type utility hook of
       6,230,375 B1 * 5/2001 Catlett ................ ... 24/599.8            FIG. 7;
       6,427,296 B1 * 8/2002 Chang .....                      ... 24/601.4    FIG. 12 is a bottom plan view of the snap-type utility hook
                    OTHER PUBLICATIONS                                        of FIG. 7;
                                                                              FIG. 13 is a frontal perspective view of the Snap-type utility
I-FUJII Enterprise, Co. Ltd., p. 55, Aug. 15, 1995, hook                      hook of FIG. 7; and,
located in middle of page.*                                                   FIG. 14 is a rear perspective view of the Snap-type utility
                                                                              hook of FIG. 1.
* cited by examiner
Primary Examiner Holly Baynham                                                                1 Claim, 3 Drawing Sheets
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